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         EXHIBIT 155
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                                                                                   Page 1
                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO DIVISION
           -----------------------------------
           RICHARD KADREY, ET AL.,                              )
                Individual and Representative )
                                           Plaintiffs,          ) Lead Case No.
                            v.                                  ) 3:23-cv-03417-VC
           META PLATFORMS, INC.,                                )
                                           Defendant.           )
           -----------------------------------
                         * * * HIGHLY CONFIDENTIAL * * *
                        * * * ATTORNEYS' EYES ONLY * * *
                     VIDEO-RECORDED 30(b)(6) DEPOSITION OF
                            MICHAEL CLARK (mitigation)
                                 MONDAY, MARCH 3, 2025
                                    DENVER, COLORADO
                                       2:59 P.M. MST


                     REPORTED BY KATHY L. DAVIS, CRR, CMR


           ---------------------------------------------------
                               DIGITAL EVIDENCE GROUP
                           1730 M. street, NW, Suite 812
                               Washington, D.C. 20036
                                      (202) 232-0646



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                                                                                  Page 43
   1       repetitive and duplicative."                 Repetitive was the
   2       first bullet.
   3              Q        Mm-hmm.
   4              A        And then duplicative and repetitive are
   5       kind of the same.
   6              Q        Mm-hmm.
   7              A        My phrase in my prior testimony feels
   8       incomplete, but please ask your question.
   9              Q        So for the examples of filter data and
 10        repetition, he provides copyright information as
 11        repetitive data, he provides personal identifying
 12        information as repetitive data, right?
 13               A        We did miss a few bullets, Remove
 14        excessive new line crack terms and Remove documents
 15        in the token distribution tool.
 16               Q        Mm-hmm.
 17               A        Um -- I'm still unclear on the question.
 18        I apologize.
 19               Q        My question is that when you're talking
 20        about this script that he wrote to remove data that
 21        had a higher likelihood of being regurgitated, among
 22        the repetitive data that he removes is also --
 23        it's -- is copyright data; is that correct?
 24               A        Um, among the data that's being removed,
 25        the repetitive and duplicative data has a higher



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                                                                                   Page 44
   1       likelihood of being regurgitated.                    The copyright
   2       information and line spacing and emails, part of that
   3       is for preventing regurgitation, but also just
   4       general stability of the model from -- from a
   5       language perspective.
   6              Q        Okay.
   7                       MS. POUEYMIROU:            Can we turn to Tab 15.
   8       This will be 14, Exhibit 14.
   9                       (Clark Exhibit 14, marked for
 10                        identification.)
 11               Q        (BY MS. POUEYMIROU)               Are you familiar
 12        with this document, Mr. Clark?
 13               A        I don't remember this document.
 14               Q        Are you familiar with Meta's source
 15        metadata project?
 16               A        Let me read this to see if I am.
 17                        MS. POUEYMIROU:            How much time?
 18                        VIDEOGRAPHER:           50 minutes.
 19                        MS. POUEYMIROU:            5-0?
 20                        VIDEOGRAPHER:           (Nodded.)
 21                        MS. POUEYMIROU:            Thought it was 10.
 22        Almost gave me a heart attack.
 23                        (A discussion was had off the record.)
 24               A        Okay.
 25               Q        (BY MS. POUEYMIROU)               Okay.       So the



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                                                                                  Page 45
   1       concern about source metadata leaking leads to Meta
   2       employees talking about whether it can be hashed or
   3       unhashed in use cases; is that correct?
   4              A        More than just source metadata leaking as
   5       potential harm.        What's -- what's the question?
   6              Q        My question is, they're trying to figure
   7       out a safe way to train and source metadata without
   8       risking IP or brand safety.                Is that -- is that fair
   9       to say?
 10                        MR. WEINSTEIN:           Object to form.
 11               A        With the -- going back to Exhibit 13, it
 12        is much more than just leakage of info.                       It is also
 13        training stability and performance, that what does
 14        either the hash or the raw metadata introduce from
 15        a -- from a instability perspective into the model?
 16               Q        (BY MS. POUEYMIROU)               Okay.       I recognize
 17        that, but another consideration is about IP and brand
 18        safety; is that correct?
 19               A        That is one of the three that is listed.
 20               Q        Okay.      And so the document that you now
 21        have before you -- this is Exhibit 14 -- is entitled
 22        Source Metadata Strategy.               Do you see that?
 23               A        I do see that.
 24               Q        And I had some questions about that.
 25        First, are you familiar with this source metadata



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                                                                                  Page 46
   1       project at Meta?
   2               A       Personally, I was familiar that this was
   3       a -- this was work that was being evaluated.
   4               Q       And why were you personally familiar with
   5       that?
   6               A       Just in -- working in generative AI and
   7       seeing other -- other projects that were in flight is
   8       how I'm familiar -- or were in the works is why I was
   9       familiar with it.
 10                Q       And how did you understand the project?
 11                A       I understood the project as, Could adding
 12        source metadata to the model help validate where we
 13        see issues or regression in certain types of
 14        performance, know where that came from, but also from
 15        an academic perspective in trying to get to a place
 16        to where as -- the question of, Was Abraham Lincoln a
 17        president, where that knowledge came from.
 18                Q       So the -- the metadata that Nikolay
 19        Bashlykov had stripped from LibGen, for example, was
 20        metadata that Meta is now considering how it can
 21        safely train on; is that correct?
 22                        MR. WEINSTEIN:           Object to form.
 23                A       The data that Mr. Bashlykov's script
 24        removed was a subset of the overall data that was
 25        being tested and evaluated as part of the source



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                                                                                  Page 47
   1       metadata strategy.          However, in looking and comparing
   2       this data, the data in Mr. Bashlykov's were where
   3       lines contained that --
   4                       (Weather noise was heard.)
   5                       THE DEPONENT:           Is that all wind?
   6                       MS. POUEYMIROU:            It sounds like it.
   7                       MR. WEINSTEIN:           Okay.
   8              A        Okay.      Apologies.         To get back to
   9       answering the question, what Mr. Bashlykov stripped
 10        out were individual lines --
 11               Q        (BY MS. POUEYMIROU)               Mm-hmm.
 12               A        -- but not actually the full set of
 13        metadata or source metadata that would have been
 14        needed to have filled in -- and if I look at the
 15        example, Title, Type, Host Name, URL, Date,
 16        Generator, Source, Media --
 17               Q        Mm-hmm.
 18               A        -- Media Bias, and other information to
 19        fill out the metadata fields.
 20               Q        So what's the URL when you are -- you've
 21        gotten your data from LibGen?                 Will that be in the
 22        URL?
 23               A        This was -- the section I just read was
 24        specific to Common Crawl.
 25               Q        Okay.      And so if you go to the next page,



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                                                                                  Page 53
   1       documents from other URLs?"                What is this concern
   2       about people figuring out the hash associated with
   3       Wikipedia?
   4                       MR. WEINSTEIN:           Object to form.
   5              A        I would have to speculate that the harm
   6       is going back to releasing information about the data
   7       mix that was used to build out the model.                        I believe
   8       that comment was from Eric Smith, not Soumya.
   9              Q        (BY MS. POUEYMIROU)               Oh, it looked like
 10        it was on the back.
 11               A        Oh, I was on 81207.00005.
 12               Q        Yeah.
 13               A        Okay.      Eric Smith had made that comment,
 14        just for accuracy.
 15               Q        Oh, okay.
 16                        So the leakage of source metadata
 17        exposing to the public what Meta had trained on --
 18                        MR. WEINSTEIN:           Object to form.
 19               A        The proprietary data mix that was used
 20        for developing the model.
 21               Q        (BY MS. POUEYMIROU)               And what do you mean
 22        by "proprietary data mix"?
 23               A        The combination of data that was
 24        developed -- the combination of data -- the exact
 25        combination of data that was used to train the model.



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                                                                                  Page 54
   1               Q       How would -- how would a person know the
   2       combination or the data mix of your data --
   3                       MR. WEINSTEIN:           Object to form.
   4               A       I --
   5               Q       (BY MS. POUEYMIROU)               -- as opposed to
   6       just data that was trained on?
   7                       MR. WEINSTEIN:           Object to form.
   8               Q       (BY MS. POUEYMIROU)               I have always
   9       thought of data mix in this case as how much of one
 10        data mix compared -- one dataset compared to another.
 11        Are you just talking about the data that Meta trained
 12        on being released to the public?
 13                A       The com- -- the exact combination of what
 14        datasets and/or data Meta trained on for that model.
 15                Q       How does the -- how does the training on
 16        the title and author of a work --
 17                        MR. WEINSTEIN:           Object to form.
 18                        MS. POUEYMIROU:            I didn't finish.
 19                        MR. WEINSTEIN:           Oh, sorry.           Sorry about
 20        that.
 21                Q       (BY MS. POUEYMIROU)               -- expose a data
 22        mix?
 23                        MR. WEINSTEIN:           Object to form, scope.
 24                A       The -- only the -- as the motivation
 25        said, the reason that you would train on it is to



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                                                                                   Page 55
   1       make it available from an explainability or to
   2       improve the quality from a factuality perspective.
   3                       And so there's no sense in training -- in
   4       adding additional data that can't be used, which
   5       therefore exposes that data.
   6              Q        (BY MS. POUEYMIROU)               So I'm trying to
   7       understand, though, your point about proprietary
   8       datasets.     Are you saying that LibGen is Meta's
   9       intellectual property and if training on source
 10        metadata from LibGen, which then gets regurgitated,
 11        it would expose?
 12                        MR. WEINSTEIN:           Object to form.
 13               A        Just to -- I believe that's a
 14        misclarification of the phrase that I used.                          It's the
 15        proprietary data mix, the combination of what data
 16        was used to train not the data itself being
 17        proprietary.
 18               Q        (BY MS. POUEYMIROU)               So you're saying the
 19        fact that Meta trained on Common Crawl and Wikipedia
 20        and Substack and Archive and . . .                     You're saying
 21        that is the concern, that that would be released to
 22        the public?
 23                        MR. WEINSTEIN:           Object to form.
 24               A        That would be a -- that is a potential
 25        example, yes.



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                                                                                   Page 56
   1              Q        (BY MS. POUEYMIROU)               But didn't Meta
   2       speak openly about its use of Common Crawl and other
   3       datasets in its published papers?
   4                       MR. WEINSTEIN:           Object to form.             Outside
   5       the scope.
   6              A        It only spoke about that in LLaMA 1,
   7       which was a research release only, and not in any
   8       other models after.           That was the one mitigation that
   9       I forgot in my list when I read them off, was that --
 10        to not share that data mix, to not share the data mix
 11        as part of one of the mitigations.
 12               Q        (BY MS. POUEYMIROU)               Okay.       And so your
 13        testimony is that by removing the source metadata,
 14        Meta was able to conceal what it trained on because
 15        by training on source metadata, the regurgitation
 16        risk was higher?
 17                        MR. WEINSTEIN:           Object to form.
 18               A        I believe that's a mischaracterization of
 19        my testimony as the source metadata document that was
 20        listed here was adding additional data into the
 21        training mix and not taking it out.
 22               Q        (BY MS. POUEYMIROU)               Was that --
 23               A        And --
 24               Q        -- because it had first been taken out?
 25                        MR. WEINSTEIN:           Object to form.



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                                                                                   Page 57
   1              A        This -- sorry.           I wasn't complete with my
   2       answer.    Do you mind asking the original question?
   3              Q        (BY MS. POUEYMIROU)               Sure.       The decision
   4       to add source metadata to training is predicated on
   5       the fact that Meta had already removed source
   6       metadata --
   7                       MR. WEINSTEIN:           Object to form.
   8              Q        (BY MS. POUEYMIROU)               -- from training; is
   9       that right?
 10                        MR. WEINSTEIN:           Sorry.        Object to form.
 11        Lacks foundation.
 12               A        If I look at the examples from -- which
 13        were in 65250 from what Mr. Bashlykov had removed,
 14        this information is incomplete in how it's structured
 15        and was not trained in a structured way that could
 16        have been used in the same way as the source metadata
 17        strategy.     This was removing specific things where
 18        they were placed in the doc that were not structured
 19        or in a way that could actually help what the
 20        motivation of the test that was being done around the
 21        source metadata strategy was, which, to the best of
 22        my knowledge, was not actually pursued because of
 23        challenges it created in both the performance and
 24        stability of the model when it was added.
 25               Q        (BY MS. POUEYMIROU)               And also with



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                                                                                   Page 58
   1       respect to --
   2              A        The reasons it was not chosen is it
   3       created too much regression, added too much
   4       additional volume, which you can see reflected in the
   5       comments of data that wasn't actually usable as part
   6       of inference and was therefore not pursued because of
   7       the challenges around performance and stability of
   8       the model.
   9              Q        You're saying that with respect to
 10        personal identifying information too?                         That was why
 11        it was removed?
 12                        MR. WEINSTEIN:           Object to form.
 13               A        We were just talking about the source
 14        metadata strategy project, which was explicitly
 15        adding multiple structured fields into the model.
 16        The PII that was removed as part of Mr. Bashlykov's
 17        script was to prevent repetitive personal information
 18        from being able to be regurgitated about private
 19        individuals.       That might have been email or other
 20        kinds of PII.
 21               Q        (BY MS. POUEYMIROU)               And the use of that
 22        script to remove the copyright information was also a
 23        regurgitation concern?
 24                        MR. WEINSTEIN:           Object to form.
 25               A        That was both regurgitation, plus the



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                                                                                   Page 59
   1       repetitive characters of copyright and the C -- the
   2       copyright mark -- copymark would affect the
   3       performance of the model as well because that would
   4       be very much repetitive and become part of outputted
   5       responses, but not necessarily adjacent to
   6       copyrighted information.
   7               Q       (BY MS. POUEYMIROU)               Okay.
   8                       MS. POUEYMIROU:            Can we pull out 23.
   9                       (Clark Exhibit 15, marked for
 10                        identification.)
 11                A       Are we switching topics?
 12                Q       (BY MS. POUEYMIROU)               We're switching
 13        documents.
 14                A       Okay.
 15                Q       The topic is mitigation, though.                      Now,
 16        this is a multipage document.                 I'm only going to be
 17        asking about parts later on, so just take your time.
 18                        MS. POUEYMIROU:            This is Exhibit --
 19                        THE REPORTER:           15.
 20                Q       (BY MS. POUEYMIROU)               -- 15.       All right.
 21        I want to look at the page ending in 2225.                         Do you
 22        want to take a look at that page?
 23                        MS. POUEYMIROU:            How much time do we
 24        have?
 25                        VIDEOGRAPHER:           24 minutes.



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                                                                                   Page 75
   1       STATE OF COLORADO             )
   2                                     )ss.       REPORTER'S CERTIFICATE
   3       COUNTY OF DENVER              )
   4            I, Kathy L. Davis, do hereby certify that I am a
   5       Registered Professional Reporter within the State of
   6       Colorado; that previous to the commencement of the
   7       examination, the deponent was duly sworn to testify
   8       to the truth.
   9            I further certify that this deposition was taken
 10        in shorthand by me at the time and place herein set
 11        forth, that it was thereafter reduced to typewritten
 12        form, and that the foregoing constitutes a true and
 13        correct transcript.
 14             I further certify that I am not related to,
 15        employed by, nor of counsel for any of the parties or
 16        attorneys herein, nor otherwise interested in the
 17        result of the within action.
 18             In witness whereof, I have affixed my signature
 19        this 4th day of March, 2025.
 20
 21
 22                                   Kathy L. Davis
 23                         Certified Realtime Reporter
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